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                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


 Case Title: Pang v. Schedule A                        Case Number: 24-cv-13141


An appearance is hereby filed by the undersigned as attorney for:
"Dirza Direct"
Attorney name (type or print): Baruch S. Gottesman, Esq.

Firm: Gottesman Legal PLLC

Street address: 11 Broadway, Suite 615

City/State/Zip: New York NY 10004

 Bar ID Number: 4480539                                Telephone Number: (212) 401-6910
 (See item 3 in instructions)

Email Address: baruchgottesman@gmail.com

Are you acting as lead counsel in this case?                                 ✔ Yes             No

Are you a member of the court’s general bar?                                 ✔ Yes             No

Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                                  Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?              ✔ Yes             No

If this is a criminal case, check your status.

                                                          ✔       Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on July 2, 2025

Attorney signature:        S/ Baruch S. Gottesman
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised 07/19/2023
